







		NO. 12-08-00324-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




§
	APPEAL FROM THE 173RD

IN THE INTEREST OF C.G., A CHILD

§
	JUDICIAL DISTRICT COURT OF


§
	HENDERSON COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for want of prosecution.  See Tex. R. App. P. 42.3(b).
Appellant perfected her appeal on July 30, 2008.  Thereafter, the reporter's record was filed on
August 8, 2008, making Appellant's brief due on or before September 8, 2008.  By way of motions
for extension, Appellant was given until November 24, 2008 to file her brief.  When Appellant failed
to file her brief within the required time, this court notified her on December 5, 2008 that the brief
was past due and warned that if no brief was received by December 15, 2008, the appeal would be
presented to the court for dismissal in accordance with Texas Rule of Appellate Procedure 42.3(b)
and (c).  

	To date, Appellant has neither complied with or otherwise responded to this court's
December 5, 2008 notice.  Accordingly, we dismiss the appeal for want of prosecution.  See Tex.
R. App. P. 38.8(a)(1), 42.3.(b).

Opinion delivered December 17, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(PUBLISH)


